
Martin, J.
delivered the opinion of the court.
The defendant is appellant from a judgment on his promissory note. He excepted to the petition on the ground that the first names of the plaintiffs were not set forth; and in answer admitted his signature but averred that the note sued on was given for goods and merchandise wholly unmerchantable, and that therefore there was a failure of consideration. The plaintiffs, with leave, amended their petition stating their first names. To this amended petition the defendant answered, that he admitted his signature but denied all consideration.
The second answer, if it stood alone, would have required the plaintiffs to prove the consideration for which the note was given; but the first one, in our opinion, relieves them from this burden. It states that the consideration of the note was a quantity of goods, sold by the plaintiffs to the defendant, which were averred to be unmerchantable. If they were so the defendant .ought to have proved it. It was easy for him, when he discovered the quality, to have secured the necessary evidende to establish it. The plaintiffs may have sold him the goods in boxes or packages which they had not opened. [80] There being no evidence of the quality of the goods, judgment was correctly given for the amount of the plaintiffs’ demand.
The defendant did not appear in the inferior court at the trial, which is *380a strong presumption that he had no defence; and this appeal is frivolous and taken for delay alone.
It is therefore ordered, adjudged and decreed, that the judgment of the city court be affirmed with ten per cent, damages and costs in both courts.
